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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 SCANNING TECHNOLOGIES                            §
 INNOVATIONS LLC,                                 §
                                                  §
         Plaintiff,                               §          Case No:
                                                  §
 vs.                                              §          PATENT CASE
                                                  §
 PEGASUS U.S.A., LLC,                             §          JURY TRIAL DEMANDED
                                                  §
         Defendant.                               §
                                                  §

                                     ORIGINAL COMPLAINT

       Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations, LLC

(“Plaintiff” or “STI”) files this Original Complaint against Pegasus, U.S.A., LLC (“Defendant”or

“Pegasus”) for infringement of United States Patent No. 9,934,528 (hereinafter “the ‘528 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

the United States patent statutes.

       3.      Plaintiff is a Florida limited liability company with its principal office located at 1

E Broward Blvd STE 700 Ft Lauderdale FL 33301.

       4.      On information and belief, Defendant is a New Jersey limited liability company

having a place of business at 180 Talmadge Rd., Suite 688, Edison, NJ 08817. On information and

belief, Defendant may be served at 180 Talmadge Rd., Suite 688, Edison, NJ 08817.

       5.      On information and belief, this Court has personal jurisdiction over Defendant



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because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic activities

in this District.

        6.          On information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                  VENUE

        7.          Venue is proper in this District 28 U.S.C. §1400(b) because Defendant is deemed

to reside in this district. Alternatively, acts of infringement are occurring in this District and

Defendant has a regular and established place of business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,934,528)

        8.          Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.          This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.         Plaintiff is the owner by assignment of the ‘528 Patent with sole rights to enforce

the ‘528 Patent and sue infringers.

        11.         A copy of the ‘528 Patent, titled “Systems and Methods for Indicating the

Existence of Accessible Information Pertaining to Articles of Commerce,” is attached hereto as

Exhibit A.

        12.         The ‘528 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

        13.         Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘528 Patent by making, using, importing,

selling, and/or offering for sale a point of sale system and app covered by one or more claims



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of the ‘528 Patent. Defendant has infringed and continues to infringe the ‘528 Patent directly inviolation

of 35 U.S.C. § 271.

          14.    Defendant sells, offers to sell, and/or uses an online ordering system including,

without limitation, the Pegasus Phomello POS point-of-sale system, Phomello app, and any

similar products (collectively, “Product”), which infringe at least Claim 1 of the ‘528 Patent.

          15.    The Product practices a system (e.g., Pegasus Phomello POS) for indicating an

existence of a link (e.g., indication of existence of a link obtained by selecting a checkbox of

“Available in Point of Sale i.e. inventory tracking in POS”) to information pertaining to an

article of commerce (e.g., products sold through POS). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.




           16.   The Product comprises a mobile device (e.g., iPad, etc.) running Pegasus

 POS and a portable handheld housing (e.g., Pegasus PS-3256) and a communication

 interfaceconfigured to enable the mobile device to communicate with a communication

 network (e.g., communication interface of the mobile device enabling communication




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 over Internet). Certain aspects of this element are illustrated in the screenshots below and/or

 those provided inconnection with other allegations herein.




       17.       The Product uses a signal processing device (e.g., processor of iPad mobile

device) which enables the communication network access (i.e. Internet) and includes a visual input

device (i.e., bar code scanner). Certain aspects of this element are illustrated in the screenshots

below and/or those provided in connection with other allegations herein.




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       18.       The Product includes a visual input device (Pegasus PS3256_ supported by the

Pegasus Phomello POS system and affixed within the portable handheld housing. Certain aspects of

this element are illustrated in the screenshots provided in connection with other allegations herein.




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       20.       The Product also includes a cloud server accessed by Pegasus Phomello POS with

the cloud communication network (e.g., Internet). The cloud server comprises a server database (e.g.,

cloud database that stores information corresponding to products) configured to store a look-up table

(e.g., the cloud database) which includes the details (e.g., quantity in stock, barcode- 3434310030179,

etc.) related to corresponding item (e.g., Light Tuna Sandwich). Certain aspects of this element are

illustrated in the screenshots below and/or




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those provided in connection with other allegations herein.




       21.       The look-up (e.g., the cloud database accessed by Pegasus Phomello POS) also

stores a plurality of information link indicators (e.g., “Available in Point of Sale i.e. inventory

tracking in POS”) to information pertaining to an article of commerce (e.g., barcode number, quantity

in stock, etc.). Certain aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.




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       22.       Each information link indicator configured in Pegasus Phomello POS (e.g.,

indication of existence of a link obtained by selecting a product name of “Available in Point of Sale

i.e., inventory tracking in POS”) is associated with a respective symbology (e.g., barcode e.g.,

3434310030179) and article of commerce (e.g., Light Tuna Sandwich). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       23.      Each information link indicator (e.g., “Available in Point of Sale i.e. inventory

tracking in POS” is configured as a status signal indicating the existence or absence of a link to

information pertaining to a respective article of commerce (e.g., indicating whether link to

information corresponding to inventory item is available or not). The link is made to the information

via the communication network (e.g., link to information about the product in POSis accessed using

the Internet (i.e., in association with the cloud server database). Certain


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aspects of this element are illustrated in the screenshots below and/or those provided inconnection

with other allegations herein.




       24.       The visual input device (e.g., barcode reader) accessed by Pegasus PhomelloPOS

is configured to scan an image of an article of commerce (e.g., scan barcode associated



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with a product) and decode the image to obtain a symbology (e.g., decode barcode of the product)

and forward data from the scanned image to the signal processing device. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




       25.       In Pegasus Phomello POS, in response to receiving the symbology (e.g., barcode),

the system displays the availability (i.e., “YES” in “IN ACTIVE” status) or unavailability of product

as well as the information link related to the product. The user can see the products with respect to

their availability/quantity and during the sale the user can trackthe inventory. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.




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       26.       The signal processing device accessed by Peagasus Phomello POS determines

whether or not the link exists without accessing the communication network (e.g., Peagasus

Phomello POS works in offline mode without accessing the Internet to determine whether or not the

link exists using the information link indicator (i.e. “inventory tracking in POS”). Certain aspects of

this element are illustrated in the screenshots below and/or those provided inconnection with other

allegations herein.




       27.       Defendant’s actions complained of herein will continue unless Defendant is enjoined

by this court.

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        28.        Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

        29.        Plaintiff is in compliance with 35 U.S.C. § 287.

                                            JURY DEMAND

        23.       Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff asks the Court to:

        (a)        Enter judgment for Plaintiff on this Complaint on all causes of action asserted

        herein;

        (b)        Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice of

the order from further infringement of United States Patent No. 9,934,528 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

        (c)        Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

        (d)        Award Plaintiff pre-judgment and post-judgment interest and costs; and

        (e)        Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: March 3, 2022.                   Respectfully submitted,


                                        /s/ Mark A. Kriegel
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